Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 1 of 14 PageID #: 888




                         United States District Court
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

DIALYSIS PATIENT CITIZENS;                  §
U.S. RENAL CARE, INC.;                      §
DAVITA INC.; and                            §
FRESENIUS MEDICAL CARE                      §
HOLDINGS, INC.                              §
                                            §
v.                                          §             Civil Action No. 4:17-CV-16
                                            §             Judge Mazzant
SYLVIA MATHEWS BURWELL, Secretary, §
United States Department of Health and      §
Human Services;                             §
UNITED STATES DEPARTMENT OF                 §
HEALTH AND HUMAN SERVICES;                  §
ANDY SLAVITT, Acting Administrator,         §
Centers for Medicare and Medicaid Services; §
and CENTERS FOR MEDICARE AND                §
MEDICAID SERVICES                           §

                        MEMORANDUM OPINION AND ORDER

       Pending before the Court is Plaintiffs’ Emergency Motion for Temporary Restraining

Order and Preliminary Injunction (Dkt. #3). On January 6, 2017, Plaintiffs filed this emergency

motion to stop implementation of a new regulation promulgated by the Department of Health and

Human Services (“HHS”) that was set to go into effect on January 13, 2017. On January 12, 2017,

the Court entered a temporary restraining order. The Court, having considered the pleadings and

oral argument, finds the motion should be granted.

                                       BACKGROUND

       End-stage renal disease (“ESRD”) is the last stage of chronic kidney disease. ESRD

patients require either a kidney transplant or regular dialysis treatments to survive. Dialysis

treatment is expensive and must be performed in specialized facilities three times per week to
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 2 of 14 PageID #: 889



effectively clean the blood. Treatments last four hours. This limits ESRD patients’ means to work

full time, and the majority of patients cannot afford treatment without insurance.

       Congress has long recognized the importance of dialysis treatment for ESRD patients and

has afforded patients the opportunity to elect coverage that best serves their needs. In 1972,

Congress amended the Social Security Act to allow ESRD patients to selectively enroll in

Medicare regardless of their age so long as they met certain employment and citizenship

requirements. See 42 U.S.C. § 426-1(a). For decades, ESRD patients have had the choice of

selecting private insurance options over Medicare if those options better served their treatment

needs. Private insurance is particularly attractive to ESRD patients with families because Medicare

does not provide coverage for spouses and dependents.

       Given the vulnerability of ESRD patients and the expense of treatment, charitable

organizations provide premium assistance to eligible ESRD patients. These charities, such as the

American Kidney Fund (“AKF”), often provide assistance to patients based on financial need,

regardless of which insurer the ESRD patient has selected. Dialysis providers have long donated

to these charities, which HHS has approved of and regulated. For example, in 1997, the Office of

Inspector General (“OIG”) of HHS published an advisory opinion affirming the legality of such

donations and setting certain guidelines. See Advisory Opinion No. 97-1, Office of Inspector

General, Dep’t of Health & Human Servs., at 5 (1997). These guidelines seek to prohibit dialysis

providers from (a) disclosing to ESRD patients that the provider makes charitable contributions or

(b) suggesting to charities such as the AKF that any contribution should be directed to a particular

group of beneficiaries. The new regulation Plaintiffs are challenging would require insurers to

make the very disclosures that OIG guidelines prohibit.




                                                 2
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 3 of 14 PageID #: 890



       On August 16, 2016, HHS issued a request for information (“RFI”) regarding concerns that

health care providers, who receive higher reimbursement from private insurers, were offering

premium assistance to steer Medicare-eligible patients to private insurers. See Request for

Information: Inappropriate Steering of Individuals Eligible for or Receiving Medicare and/or

Medicaid Benefits to Individual Market Plans, 81 Fed. Reg. 57,554 (Aug. 23, 2016). The RFI

sought information about all third-party premium and cost-sharing assistance, not just dialysis

patients. HHS stated the RFI was for “information and planning purposes” only and did not

propose a new rule. Id. at 57,555. Of the 829 responses HHS received, many ESRD patients;

patient advocacy organizations; charities, including AKF; and dialysis providers supported

premium assistance and explained the current system’s controls to prevent steering and to comply

with the OIG’s guidance. Fifteen insurance companies responded, criticizing charitable premium

assistance. Social workers’ responses varied.

       On December 14, 2016, HHS announced a new regulation: Interim Final Rule with

Comment Period, Medicare Program; Conditions for Coverage for End-Stage Renal Disease

Facilities—Third-Party Payment, 81 Fed. Reg. 90,211 (Dec. 14, 2016) (to be codified at 42 C.F.R.

pt. 494) (the “Rule”). The Rule would require dialysis providers to disclose to patients that they

are contributing to charities such as AKF. The Rule would also require dialysis providers to notify

insurers which premiums will be paid for by charitable organizations. The dialysis providers would

then have to “obtain assurance” from insurers that they will accept charitable premium assistance

payments, and if such assurances are not provided, the dialysis providers would need to take

“reasonable steps” to ensure such payments are not made. In effect, the Rule would allow insurers

to refuse to insure ESRD patients who receive charitable premium assistance. The Rule was set to

go into effect on January 13, 2017.



                                                3
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 4 of 14 PageID #: 891



       On January 6, 2017, Plaintiffs filed an Emergency Motion for Temporary Restraining

Order and Preliminary Injunction (Dkt. #3). On January 11, 2017, Defendants filed their Response

in Opposition (Dkt. #29). On January 12, 2017, the Court issued a temporary restraining order

(Dkt. #33). On January 18, 2017, the Court held oral argument on the request for a preliminary

injunction.

                                       LEGAL STANDARD

       The Fifth Circuit set out the requirements for a preliminary injunction in Canal Authority

of the State of Florida v. Callaway, 489 F.2d 567, 572 (5th Cir. 1974). To prevail on a preliminary

injunction, the movant must show: (1) a substantial likelihood that the movant will ultimately

prevail on the merits; (2) a substantial threat that the movant will suffer irreparable injury if the

injunction is not granted; (3) the threatened injury to the movant outweighs whatever damage the

proposed injunction may cause the opposing party; and (4) granting the injunction is not adverse

to the public interest. Id.; see also Nichols v. Alcatel USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008).

       To qualify for a preliminary injunction, the movant must clearly carry the burden of

persuasion with respect to all four requirements. Karaha Bodas Co. v. Perusahaan Pertambangan

Minyak Dan Gas Bumi Negara, 335 F.3d 357, 363 (5th Cir. 2003). If the movant fails to establish

any one of the four requirements for injunctive relief, relief will not be granted. See Women's Med.

Ctr. of Nw. Hous. v. Bell, 248 F.3d 411, 419 n.15 (5th Cir. 2001). A movant who obtains a

preliminary injunction must post a bond as security any wrongful damages the non-movant suffers

as a result of the injunction. Fed. R. Civ. P. 65(c).

       The decision to grant or deny preliminary injunctive relief is left to the sound discretion of

the district court. Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621

(5th Cir. 1985) (citing Canal, 489 F.2d at 572). A preliminary injunction “is an extraordinary and



                                                   4
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 5 of 14 PageID #: 892



drastic remedy, not to be granted routinely, but only when the movant, by a clear showing, carries

the burden of persuasion.” White v. Carlucci, 862 F.2d 1209, 1211 (5th Cir. 1989) (quoting

Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997 (5th Cir. 1985)). Even when a

movant satisfies each of the four Canal factors, the decision whether to grant or deny a preliminary

injunction remains discretionary with the district court. Miss. Power & Light Co., 760 F.2d at 621.

The decision to grant a preliminary injunction is treated as the exception rather than the rule. Id.

                                            ANALYSIS

       Plaintiffs argue that Defendants violated the Administrative Procedures Act (“APA”) and

the Medicare Act because the Rule was unlawfully promulgated without notice and comment, and

the Rule’s disclosure requirements are arbitrary, capricious, and contrary to law.

       Defendants assert that Plaintiffs are not entitled to a preliminary injunction because:

(1) HHS articulated a reasonable explanation for the Rule; (2) HHS’s good cause determination

was not arbitrary and capricious; (3) Defendants’ procedural errors were harmless and did not

violate the APA; and (4) an injunction would harm ESRD patients.

       The first consideration is whether Plaintiffs have shown a substantial likelihood of success

on the merits for their claims. Plaintiffs claim that they have shown a substantial likelihood that

they will prevail on the merits because Defendants have violated the APA by (1) circumventing

the notice and comment process and (2) issuing final agency action that is contrary to law. To

satisfy the element of substantial likelihood of success, a plaintiff need not prove their case with

absolute certainty. See Lakedreams v. Taylor, 932 F.2d 1103, 1109 n.11 (5th Cir. 1991). “A

reasonable probability of success, not an overwhelming likelihood, is all that need be shown for

preliminary injunctive relief.” Casarez v. Val Verde Cty., 957 F. Supp. 847, 858 (W.D. Tex. 1997).




                                                  5
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 6 of 14 PageID #: 893



       Plaintiffs have shown a reasonable probability of success by showing Defendants likely

violated the procedures of the APA. The APA requires courts to “hold unlawful and set aside

agency action” that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706. The APA requires an agency seeking to promulgate a substantive rule

to do so through notice and comment procedures. 5 U.S.C. § 553. Plaintiffs contend that HHS’s

failure to comply with § 553 constitutes a reasonable probability of success on the merits of their

claim. HHS admits a “technical departure from the requirements of § 553(b)” but argues the

August 2016 RFI was sufficient notice and the agency had “good cause” to forgo notice and

comment (Dkt. #29 at p. 23).

       An agency may dispense with the requirements for “good cause” when notice and comment

would be “impracticable, unnecessary, or contrary to public interest.” 5 U.S.C. § 553(b)(3)(B);

42 U.S.C. § 1395hh(b)(2)(C). The parties disagree on what standard the Court should apply to

HHS’s good cause determination. Plaintiffs cite United States. v. Johnson and argue the Court

should only uphold HHS’s good cause determination if the Court finds HHS’s “reasons for

bypassing    the   APA’s    notice-and-comment       and   thirty   day   provisions    persuasive.”

632 F.3d 912, 928 (5th Cir. 2011). Defendants argue the Court should apply an arbitrary and

capricious standard of review to the good cause finding because the APA requires courts to “hold

unlawful and set aside agency action” that is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706. Plaintiffs counter that nothing in Johnson

suggests the Fifth Circuit should apply a deferential standard of review for the legal question of

whether good cause was satisfied. The Court agrees and will follow the Fifth Circuit precedent in

Johnson but notes that the Rule is also arbitrary and capricious, as discussed below.




                                                 6
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 7 of 14 PageID #: 894



       Defendants contend that notice and comment would be “contrary to public interest.” The

D.C. Circuit has determined “[t]he public interest prong of the good cause exception is met only

in the rare circumstance when ordinary procedures—generally presumed to serve the public

interest—would in fact harm that interest.” Mack Trucks, Inc. v. E.P.A., 682 F.3d 87, 95

(D.C. Cir. 2012). The Court adopts the reasoning of the D.C. Circuit and finds that notice and

comment should only be disposed of where “announcement of a proposed rule would enable the

sort of . . . manipulation the rule sought to prevent.” Id. (citing Util. Solid Waste Activities Grp. v.

E.P.A., 236 F.3d 749, 755 (D.C. Cir. 2001)).

       The Fifth Circuit reads the good cause exception narrowly “to avoid providing agencies

with an ‘escape clause’ from the requirements Congress prescribed.” United States v. Garner,

767 F.2d 104, 120 (5th Cir. 1985); see Texas v. United States, 809 F.3d 134, 171 (5th Cir. 2015)

(“the full panoply of notice-and-comment requirements must be adhered to scrupulously. The

‘APA’s notice and comment exemptions must be narrowly construed.’”). “The proper test is

whether the notice would fairly apprise interested persons of the subjects and issues the agency

was considering. The notice need not specifically identify ‘every precise proposal which [the

agency] may ultimately adopt as a rule.’” Am. Transfer & Storage Co. v. I.C.C., 719 F.2d 1283,

1303 (5th Cir. 1983) (citations omitted).

       Other courts similarly read the good cause exception narrowly. For example, the Third

Circuit refused to find good cause where the attorney general asserted a sex offender registration

regulation needed immediate enactment to protect the public from sexual assaults. See United

States v. Reynolds, 710 F.3d 498, 510 (3d Cir. 2013). The court concluded, “If the mere assertion

that [some real or perceived harm] will continue while an agency gives notice and receives

comments were enough to establish good cause, then notice and comment would always have to



                                                   7
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 8 of 14 PageID #: 895



give way.” Id. at 512. One court analyzing an HHS regulation reasoned that good cause should be

“narrowly construed and only reluctantly countenanced . . . . particularly . . . where the issues

affect the general public and involve complex and controversial questions of ethics and public

policy.” Am. Acad. of Pediatrics v. Heckler, 561 F. Supp. 395, 401 (D.D.C. 1983) (citations

omitted).

       Defendants contend that notice and comment would have been contrary to public interest

because they were facing a crisis situation in which swift, emergency rulemaking was necessary

to prevent further harm to dialysis patients. Specifically, Defendants claim that delaying the Rule

would leave patients exposed to three kinds of unacceptable risks: (1) having their ability to be

determined eligible for a kidney transplant negatively affected; (2) being exposed to additional

costs for health care coverage; and (3) being exposed to a significant risk of mid-year disruption

in coverage. But Defendants have not provided a single example of a patient denied a kidney

transplant because of charitable assistance. Speculation that some patients will not have foresight

to arrange for alternative coverage does not provide good cause to bypass notice and comment.

Plaintiffs have shown that DaVita and other providers assist patients in enrolling in Medicare

leading up to and after the patient receives a transplant (Dkt. #3, Exhibit C). The second alleged

unacceptable risk is purely economic, which does not supply good cause. See Mack Trucks Inc.,

682 F.3d at 95. Finally, the Rule effectively provides insurers the means to stop paying for dialysis

treatment once the insurer discovers the patient received charitable premium assistance. Thus, the

Rule would cause the very mid-year disruptions that it seeks to prevent.

       In support of their position, Defendants identified two cases in which courts found good

cause for health care regulation without notice and comment. In North American Coal, the

Secretary of Labor published a proposed rule permitting eligible miners to file claims for medical



                                                 8
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 9 of 14 PageID #: 896



benefits under the Black Lung Act. N. Am. Coal Corp. v. Dir., Off. of Workers’ Comp. Prog., 854

F.2d 386, 387 (10th Cir. 1988). After publishing the final rule, the Secretary of Labor promulgated

an amended rule—without notice and comment—that extended the deadline of the prior rule. The

Tenth Circuit determined “the loss or delay of medical benefits to many eligible coal miners was

a real harm” that satisfied the APA’s good cause exception. In National Federation of Federal

Employees v. Devine, the Office of Personnel Management (“OPM”) published a new rule—

without notice and comment—in response to a district court order that postponed federal

employees’ period of open enrollment in health benefit plans. 671 F.2d 607, 610–12 (D.C. Cir.

1982). The District of Columbia Circuit found the OPM had good cause to forgo notice and

comment because “the agency’s action was required by events and circumstances beyond its

control.” Id. at 611.

        The circumstances here are distinguishable from the cases offered by Defendants. Unlike

North American Coal, the Rule is not an amended rule that followed an original, APA-compliant

proposed rule, which might have permitted the Court to determine HHS “substantial[ly]

compli[ed] with the requirements of the APA.” 854 F.2d at 388. Unlike the OPM in National

Federation of Federal Employees, HHS’s action was not a “necessary” response to a court order,

and HHS had “substantial prior notice” of the enrollment deadline. 671 F.2d at 611.

        The parties have identified several cases in which a court found good cause for bypassing

the notice and comment procedures required by the APA. For example, in Hawaii Helicopter

Operators Ass’n v. F.A.A., the Ninth Circuit found good cause to invoke the exception where a

“recent escalation of fatal air tour accidents” permitted the FAA to enact helicopter regulations

requiring helicopter pilots to fly at a minimum 1,500 feet over Hawaii’s unique, complicated

topography. 51 F.3d 212, 214–15 (9th Cir. 1995). In Jifry v. F.A.A., the District of Columbia



                                                9
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 10 of 14 PageID #: 897



Circuit found good cause to bypass notice and comment and to revoke certain FAA airman

certificates following the September 11, 2001, attacks as a matter of national security. 370 F.3d

1174 (D.C. Cir. 2004). The court recognized the “emergency situation[]” and concluded, “[g]iven

the respondents’ legitimate concern over the threat of further terrorist acts involving aircraft in the

aftermath of September 11, 2001, the agencies had ‘good cause’ for not offering advance public

participation.” Id. at 1179–80 (citations omitted). There are no such emergencies presented to the

Court.

         The Court is not persuaded that HHS had good cause to bypass notice and comment. When

pressed at oral argument for why HHS could not go through the procedures required by the APA,

Defendants were unable to identify any emergency that justified publishing a rule without notice

and comment. Defendants claimed HHS decided it was facing a crisis situation after reviewing the

information gathered through the RFI. Defendants further claimed immediate action was necessary

because delay would put lives at risk. But such arguments “could as easily be used to justify

immediate implementation of any sort of health or safety regulation.” Am. Acad. of Pediatrics, 561

F. Supp. at 401.

         The Court is also not persuaded that the procedural violations were harmless. Defendants

contend that the lack of notice and comment did not prejudice Plaintiffs. The Fifth Circuit has

determined that an agency’s failure to comply with notice and comment is harmless only when it

is “clear that the petitioner was not prejudiced by APA deficiencies.” United States v. Johnson,

632 F.3d 912, 930 (5th Cir. 2011) (citing United States Steel Corp. v. E.P.A., 595 F.2d 207, 215

(5th Cir. 1979)). The Fifth Circuit finds harmless error “rare[ly]” because the “vast majority of

agency rulemaking, which produces nuanced and detailed regulations[,] greatly benefit[s] from

expert and regulated entity participation.” Id. at 932. The only relevant case that Defendants cite



                                                  10
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 11 of 14 PageID #: 898



finding harmless error, City of Arlington v. F.C.C., is distinguishable because unlike the situation

before the Court, the FCC put the petitioners on notice that they were considering a rule change.

688 F.3d 229, 244 (5th Cir. 2012); see also United Steelworks of Am., AFL-CIO-CLC v. Schuykill

Metals Corp., 828 F.2d 314, 317–18 (5th Cir. 1987) (finding no error where a modified rule was

a “logical outgrowth” of the original proposed rule that was introduced with proper notice and

comment procedures). Defendants claim that the RFI was sufficient to give Plaintiffs adequate

notice and make any “technical departures from § 553(b)” harmless. This claim is without merit.

The RFI (1) did not give Plaintiffs notice that HHS was considering promulgating a rule; (2) was

not specific to ESRD; (3) disclosed no information regarding the provisions that made the Rule so

damaging; and (4) was “[t]oo open-ended to allow for meaningful comment” on key aspects of the

Rule actually adopted. Prometheus Radio Project v. F.C.C., 652 F.3d 431, 450 (3d Cir. 2011). It

is not “clear that the petitioner was not prejudiced by APA deficiencies.” Johnson, 632 F.3d at

930. In fact, when combined with the shortcomings and deficiencies of the Rule itself, the Court

finds Plaintiffs were clearly prejudiced by HHS’s decision to violate the procedures of the APA.

       The Court determines that HHS did not have good cause to bypass notice and comment;

thus, the Rule should be vacated. Independent of this determination, Plaintiffs are likely to succeed

on the merits because the Rule is arbitrary and capricious. “[R]easonable regulation ordinarily

requires paying attention to the advantages and disadvantages of agency decisions.” Michigan v.

E.P.A., 135 S. Ct. 2699, 2707 (2016). HHS failed to consider the benefits of private qualified

health plans and ignored the disadvantages of the Rule. The Supreme Court has determined an

agency rule would be arbitrary and capricious if the agency “entirely failed to consider an

important aspect of the problem.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983). HHS failed to consider that the Rule would leave thousands of



                                                 11
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 12 of 14 PageID #: 899



Medicare-ineligible ESRD patients without health insurance, which is clearly an important aspect

of the problem. Finally, the Rule departed from HHS’s prior guidance without acknowledging that

it was doing so. See FCC v. Fox Television Stations, 556 U.S. 502, 516 (2009) (concluding HHS’s

failure to display “awareness” it was “changing its position” from its longstanding guidance

required vacatur of the rule). HHS has long accepted the practice of charitable premium assistance,

and the Rule neither addresses that HHS is changing its position nor provides a reasoned

explanation for why the Rule violates OIG guidance. See Advisory Opinion No. 97-1, Office of

Inspector General, Dep’t of Health & Human Servs., at 5 (1997).

       Plaintiffs must demonstrate irreparable injury for the Court to provide injunctive relief.

Dialysis providers contend that they will suffer irreparable injury because the Rule would cause

financial unsustainability for its facilities. DaVita, Inc. has shown that up to six of its Texas

facilities would likely close if ESRD patients were forced off of private insurance plans, which

reimburse at a much higher rate than Medicare. See Texas v. E.P.A., 829 F.3d 405, 434 (5th Cir.

2016) (finding permanent closure of facilities to be an irreparable harm). Additionally, compliance

costs cannot be recovered later from the government if the Rule is invalidated on the merits. These

costs are irreparable under Fifth Circuit law. Id. Here, HHS estimates such costs at more than $29

million annually. 81 Fed. Reg. at 90,225. ESRD patients would also suffer irreparable injury were

the Rule to go into effect. The Fifth Circuit finds irreparable injury where a proposed rule would

deny patients needed medical care or “the legal right to the qualified provider of their choice.”

Planned Parenthood of Gulf Coast, Inc. v. Gee, 837 F.3d 477, 501 (5th Cir. 2016). Not all ESRD

patients qualify for Medicare, and Medicare does not cover family members. Further, many health

care providers do not accept Medicare. Therefore, some ESRD patients and their families could




                                                12
Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 13 of 14 PageID #: 900



lose access to their health care providers or even lose insurance coverage altogether. The Court

finds Plaintiffs have satisfied their burden in showing irreparable injury.

       The balance of equities weighs in favor of granting a preliminary injunction because HHS

will suffer no comparable harm if the Rule’s implementation is delayed while the Court addresses

the merits of Plaintiffs’ challenges to the Rule.

       Granting injunctive relief would serve the public interest. HHS contends the status quo

disserves the public interest, but the Court is not convinced. Preserving the status quo ensures

ESRD patients have the choice to select private or public insurance options based on their health

care needs and financial means.

                                          CONCLUSION

       Plaintiffs have satisfied each of the four requirements for a preliminary injunction. The

Court has authority to enjoin the Rule’s implementation on a nationwide basis, and finds that it is

appropriate to do so in this case. See Texas, 809 F.3d at 188 (upholding a nationwide injunction

because “partial implementation of [a federal rule] would ‘detract from the integrated scheme of

regulation’ created by Congress”).

       It is therefore ORDERED that Plaintiffs’ Emergency Motion for Temporary Restraining

Order (Dkt. #3) is hereby GRANTED.

       It is further ORDERED that HHS’s Interim Final Rule with Comment Period, Medicare

Program; Conditions for Coverage for End-Stage Renal Disease Facilities—Third-Party Payment,

81 Fed. Reg. 90,211 (Dec. 14, 2016) is hereby enjoined. Defendants and their agents are enjoined

from implementing and enforcing the following regulations as amended by 81 Fed. Reg. 90,211:

42 C.F.R. § 494.70 and 42 C.F.R. § 494.180, pending further order of this Court.




                                                    13
    Case 4:17-cv-00016-ALM Document 36 Filed 01/25/17 Page 14 of 14 PageID #: 901



            The Court has considered the issue of security pursuant to Rule 65(c) of the Federal Rules

    of Civil Procedure and finds that Defendants will not suffer any financial loss that warrants the

.   need for Plaintiffs to post security. The Fifth Circuit has held that a district court has the discretion

    to “require no security at all.” Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996).

    After considering the facts and circumstances of this case, the Court concludes that security is

    unnecessary and exercises its discretion not to require posting security in this situation.
         SIGNED this 25th day of January, 2017.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




                                                       14
